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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


    UNITED STATES OF AMERICA
                                                  Case No. 19 CR 567
           v.
                                                  Honorable Harry D. Leinenweber
    ROBERT SYLVESTER KELLY, aka
    “R. Kelly,”
    DERREL McDAVID, and
    MILTON BROWN, aka “June Brown”


           GOVERNMENT’S CONSOLIDATED MOTIONS IN LIMINE1

        The UNITED STATES OF AMERICA, through its attorney, JOHN R.

LAUSCH, JR., United States Attorney for the Northern District of Illinois,

respectfully moves the Court, in limine, for entry of orders admitting or excluding

certain evidence and argument at trial in this case, as set forth below.

1.      MOTION TO PROTECT THE IDENTITIES OF CERTAIN VICTIM-WITNESSES

        The government moves to protect the identities of the victims named in the

superseding indictment—referred to as Minor 1, Minor 3, Minor 4, Minor 5, and

Minor 6 (the “Victim-Witnesses”)—who are expected to provide, and/or will be the

subject of, sensitive and personal testimony concerning illegal sexual abuse and the

production and receipt of child pornography by the defendants.2 Specifically, the



1 For purposes of efficiency and ease of reference, the government has filed its motions in
limine in a single document. No single motion herein exceeds the 15-page limit as imposed
by the Local Rules.

2 The government also intends to raise at the pretrial conference additional courtroom
procedures and logistics to accommodate the Victim-Witnesses, such as the use of separate
entrances.
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government moves the Court to: (1) permit the Victim-Witnesses to testify using their

first names only; (2) limit references to each of the Victim-Witnesses in open court to

their first names only; and (3) prevent public disclosure, via cross-examination or

otherwise, of the Victim-Witnesses’ respective addresses, full names of family

members, or exact places of employment, if any.

      The superseding indictment charges defendant Kelly with multiple counts of

sexual enticement and exploitation of the Victim-Witnesses. The Victim-Witnesses

are expected to testify in explicit detail and/or be the subject of highly sensitive and

personal testimony concerning Kelly’s illegal sexual contact with them that occurred

when they were between the ages of 13 and 17. Due to the sensitive nature of the

testimony and evidence relevant to the crimes charged, the government seeks entry

of a proposed protective order limiting the disclosure of the Victim-Witnesses’ last

names and other identifying information in court. The limited protections requested

by the government are necessary and appropriate to protect the Victim-Witnesses’

safety and well-being, avoid harassment of the Victim-Witnesses by the press and

others, and prevent undue embarrassment and other adverse consequences, such as

retaliation by Kelly’s supporters, relocation, or loss of employment.

      In addition, the government anticipates that Minor 1’s mother will testify

about similar topics related to Minor 1, including Kelly’s long-term abuse of Minor 1

while she was a child. As a result, the government similarly moves to permit

Minor 1’s mother—who has the same last name as Minor 1—to testify using her first

name only. The proposed protective order also contains a provision related to



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Individual D, who will testify about, among other topics, sexual contact that she had

with Kelly and Minor 1 over the course of several years. The government seeks to

preclude disclosure of Individual D’s address, names of family members, and place of

employment at trial and during pre-trial and post-trial proceedings in this case.

       This case was charged in July 2019 and, since that time, the case has garnered

significant attention from local and national media sources. The same is true for

Kelly’s federal prosecution in the Eastern District of New York (“EDNY”) (United

States v. Kelly, Case No. 19 CR 286). In the EDNY case, the court granted the

government’s motion to exclude references to victims’ last names and other personal

identifying information during the trial. Case No. 19 CR 286, Dkt. 255, at 19-21 (“In

sum, a balancing of the risks to the victim-witnesses against the defendant’s interests

supported permitting the requested limitations. The victim-witnesses testified about

humiliating and explicit acts of abuse, some of which took place when they were

minors.”). The same protocols are warranted in this case.3

       Several district courts have excluded mention of victims’ full names at trial,

citing the privacy interests of the victims. See, e.g., United States v. Campbell, 770

F.3d 556, 560 n.1 (7th Cir. 2014) (referencing victims who testified at trial under their

real first names); United States v. Nichols, No. 15 CR 756, Dkt. 220 (N.D. Ill. Feb. 15,

2018) (in sex trafficking case, protective order entered precluding reference to adult


3As noted in the government’s motion in limine number 4 below, it is unknown at this time
whether there will be sufficient room for spectators to be seated in the courtroom gallery for
this trial. If there are spectators in the gallery, the government requests that the Court
admonish any courtroom sketch artists present that there shall be no sketches prepared of
the Victim-Witnesses faces while they are testifying. It also may be appropriate to post notice
of this order on the courtroom door.

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victims’ last names and requiring all documents disclosing the last name of any victim

to be filed under seal); United States v. Gardner, No. 16 CR 20135, 2016 WL 5404207

at *4-5 (E.D. Mich. Sept. 28, 2016) (collecting cases); United States v. Thompson, 178

F.Supp.3d 86, 96 (W.D.N.Y. 2016) (“Given the anticipated explicit and sensitive

nature of the evidence in this case, the Government has a compelling interest” in

limiting identification of the victims.); United States v. Paris, 2007 WL 3124724 at *1

(D. Conn. Oct. 24, 2007) (excluding mention of adult and minor victims’ full last

names at trial, as the government has a “legitimate and substantial” interest in

“protecting these witnesses from the likely adverse personal, professional and

psychological consequences of publicly linking their identities to their past lives as

sex workers.”).

      As the Gardner court held, excluding evidence of the victims’ full names is

“consistent” with the Crime Victims’ Rights Act, 18 U.S.C. § 3771(a)(8), which states

that a victim has the “right to be treated with fairness and with respect for the

victim’s dignity and privacy.” 2016 WL 5404207 at *6. Additionally, the government

has an interest in encouraging crime victims, particularly victims of sex crimes, to

testify by protecting them from some of the adverse consequences of their testimony.

See Thompson, 178 F.Supp.3d at 96.

      While the public has a “constitutional right of access to criminal trials,” that

right is not “absolute.” Globe Newspaper Co. v. Superior Court for Norfolk County,

457 U.S. 596, 603, 607 (1982). A court can “inhibit the disclosure of sensitive

information” when it is narrowly tailored to serve a compelling governmental



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interest. Id. at 607. In this case, the exclusion of the victims’ last names, while

otherwise allowing their testimony in open court, is narrowly tailored to serve the

interest in protecting the victims’ privacy rights. See Thompson, 178 F.Supp.3d at 96

(“the Court cannot envision a protective order [barring mention of victims’ full last

names] that is more narrowly tailored to serve the Government’s compelling

interests”); see also Gardner, 2016 W 5404207 at *4-5 (excluding mention of an adult

victim’s full last name at trial, explaining that use of the victim’s full name “would

add nothing substantive to her in-court testimony that cannot be supplied by the use

of her first name and first initial of her last name”).

       For the reasons set forth above, the government respectfully requests that the

Court grant the government’s motion and (1) permit the Victim-Witnesses and

Minor 1’s mother to testify using their first names only; (2) limit references to each of

the Victim-Witnesses and Minor 1’s mother in open court to their first names only;

and (3) prevent public disclosure of addresses, full names of family members, or exact

place of employment, if any, for the Victim-Witnesses, Minor 1’s mother, and

Individual D. The government further requests that the Court enter the attached

protective order that sets forth the government’s requested relief. The proposed

protective order supplements the existing protective order in the case, R. 53, which

contains several provisions regarding the disclosure of discovery materials produced

in this case, including a prohibition on including any information marked as sensitive

in any public filing with the Court.4


4 Discovery related to the Victim-Witnesses, including their full names and other identifying
information, has been produced as sensitive material in this case.

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2.      MOTION TO PRECLUDE EVIDENCE OF VICTIMS’ SEXUAL HISTORY

        For the reasons set forth below, defendants should be precluded from eliciting

on cross examination or otherwise introducing evidence or making arguments as to

the sexual behavior of the Victim-Witnesses with individuals other than Kelly or

others at Kelly’s direction.

        A.    The Evidence is Inadmissible Under Rule 412

        By its plain terms, Rule 412 bars evidence of a victim’s sexual history and

sexual predisposition in cases involving allegations of sexual misconduct:

        The following evidence is not admissible in a civil or criminal proceeding
        involving alleged sexual misconduct:

        (1) evidence offered to prove that any alleged victim engaged in other sexual
        behavior; or

        (2) evidence offered to prove a victim’s sexual predisposition.

Fed. R. Evid. 412(a).

        The purpose of the rule is to “safeguard the alleged victim against the invasion

of privacy, potential embarrassment, and sexual stereotyping that is associated with

public disclosure of intimate sexual details,” and to “encourage[ ] victims of sexual

misconduct to institute and to participate in legal proceedings against alleged

offenders.” Fed. R. Evid. 412, Advisory Committee Notes; United States v. Cephus,

684 F.3d 703, 708 (7th Cir. 2012); United States v. Elbert, 561 F.3d 771, 776 (8th Cir.

2009). This purpose is consistent with other provisions of federal law, which provide

that all crime victims have “[t]he right to be treated with fairness and with respect

for the victim’s dignity and privacy.” 18 U.S.C. § 3771(a)(8). Consequently, Rule 412



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is interpreted broadly, and applies to all sexual behavior of the victim before trial,

United States v. Torres, 937 F.2d 1469, 1472 (9th Cir. 1991), “whether offered as

substantive evidence or for impeachment,” Fed. R. Evid. 412, Advisory Committee

Notes.

         Rule 412 imposes clear limits on a defendant’s ability to introduce evidence

that a victim engaged in other sexual behavior or has a propensity to engage in sexual

acts. In the context of criminal cases, the Rule prescribes very limited exceptions to

this inadmissibility:

         The court may admit the following evidence in a criminal case: (A) evidence of
         specific instances of a victim’s sexual behavior, if offered to prove that someone
         other than the defendant was the source of semen, injury, or other physical
         evidence; (B) evidence of specific instances of a victim’s sexual behavior with
         respect to the person accused of the sexual misconduct, if offered by the
         defendant to prove consent or if offered by the prosecutor; and (C) evidence
         whose exclusion would violate the defendant’s constitutional rights.

Fed. R. Evid. 412(b). If a defendant intends to introduce evidence of a victim’s other

sexual behavior or alleged sexual predisposition under one of these exceptions, the

Rule requires the filing of a sealed motion no less than 14 days before trial that

“specifically describes and states the purpose for which it is to be offered,” with notice

to the victim or her representative. Fed. R. Evid. 412(c)(1).

         None of the limited exceptions to Rule 412 apply in this case. Kelly is charged

with enticing each of the minors named in the indictment to engage in sexual contact

and acts with him, repeatedly, over the course of years. Here, any evidence of a

victim’s sexual behavior with anyone other than Kelly or others at Kelly’s direction,

as well as any evidence of any purported “sexual predisposition,” would be wholly



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irrelevant to the charges against the defendants. The exclusion of evidence on these

topics is thus appropriate under Rule 412. See, e.g., United States v. Isabella, 918 F.3d

816, 839 (10th Cir. 2019) (in § 2422(b) prosecution, affirming district court’s decision

to prohibit the introduction of evidence suggestive of the minor victim’s “sexual

predisposition” and her previous sexual activity with a male depicted in photos on

her phone).

        B.    The Evidence is Inadmissible Under Rule 403

        Even if evidence concerning the victims’ other sexual conduct was relevant (it

is not), any probative value would be marginal at best and substantially outweighed

by the dangers of unfair prejudice, confusion of the issues, misleading the jury, and

embarrassing the victim, and it should be excluded pursuant to Rule 403. In

particular, such evidence would provide for the substantial risk that the jury will

question the victims’ sexual morals and view them as untruthful because of their

prior sexual activities. For all of these reasons, any inquiry or evidence related to the

victims’ sexual history is properly excluded under Rule 403.

3.      MOTION TO BAR EVIDENCE AND ARGUMENT RELATED TO CONSENT

        The government requests that the Court prohibit defendants from introducing

evidence and arguing that the minor victims consented to engaging in sexual activity

while they were minors.

        It is well-established that “[m]inors lack the capacity to consent, and so sexual

contact with a minor is always without consent.” United States v. Rogers, 587 F.3d

816, 820 (7th Cir. 2009); see also United States v. Street, 531 F.3d 703, 708 (8th Cir.



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2008) (affirming the district court’s exclusion of consent evidence as irrelevant in a

prosecution under 18 U.S.C. § 2251(a)); United States v. Raplinger, 555 F.3d 687, 691-

92 (8th Cir. 2009) (“Because the district court was correct as a matter of law that

consent is not a defense to the crimes charged, it was not an abuse of discretion to

exclude the consent evidence.”); see also United States v. Key, 889 F.3d 910, 913 (7th

Cir. 2018) (“That the minor consents to engaging in prostitution is not a defense to

the crime of trafficking a minor for purposes of prostitution.”).

      In Raplinger, the defendant was charged with sexual exploitation of a minor,

in violation of 18 U.S.C. § 2251(a) and (e); distribution of child pornography, in

violation of 18 U.S.C. § 2252A(a)(1) and (b)(1); and possession of child pornography,

in violation of 18 U.S.C. § 2252A(a)(5)(B) and (b)(2). The defendant agreed that

consent was not a defense to the distribution or possession of child pornography

charges, however, at trial, he sought to introduce evidence of the minor’s consent as

to the sexual exploitation charge. Specifically, the defendant sought to introduce

evidence that the minor victim “consented to engage in the sexual behavior and

lascivious exhibition.” 555 F.3d at 692. On appeal, the Eighth Circuit rejected the

defendant’s argument that such evidence should have been admitted and concluded

that “[b]ecause the district court was correct as a matter of law that consent is not a

defense to the crimes charged, it was not an abuse of discretion to exclude the consent

evidence.” Id. The Eighth Circuit further held that the jury was properly instructed

that “a minor may not legally consent to being sexually exploited.” Id. at 692-93.




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         The Ninth Circuit’s decision in United States v. Dhingra, 371 F.3d 557 (9th Cir.

2004), is also illustrative. The defendant, charged with enticement of a minor in

violation of 18 U.S.C. § 2422(b), proposed a jury instruction that would have required

the jury to acquit him if it found that the victim induced him and was at least partially

willing to engage in the alleged sexual conduct. Id. at 567. The trial court refused to

give the instruction. Id. In affirming the defendant’s conviction, the Court of Appeals

wrote:

         [The defendant’s] argument collapses because he misconstrues the nature of
         liability under § 2422(b); his proposed jury instruction reflects this mistake. In
         effect, [the defendant] claims that entrapment by the victim ameliorates any
         inducement on his part. Again, this reading of the statute mistakenly changes
         the focus from the defendant to the victim. The victim’s willingness to engage
         in sexual activity is irrelevant, in much the same way that a minor’s consent
         to sexual activity does not mitigate the offense of statutory rape or child
         molestation. So long as a defendant’s actions constitute the act of persuading,
         inducing, enticing, or coercing a minor to engage in criminal sexual activity,
         § 2422(b) applies.

Id. at 567-68 (citation omitted).

         In United States v. Dye, No. 09-3410, 2010 WL 4146187, at *3 (3d Cir. Oct. 22,

2010), the Third Circuit rejected a similar argument. In that case, the defendant was

charged with enticing a minor in violation of 18 U.S.C. § 2422(b) and traveling

interstate for the purpose of engaging in illicit sexual conduct in violation of 18 U.S.C.

§ 2423(b). At trial, he admitted to the conduct alleged but argued that the

Government’s evidence against him was insufficient because the purported minor

“was a seductress who had persuaded, induced, and enticed [him], not the other way

around.” Id. at *1. The Third Circuit rejected this defense:




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      [The defendant’s] “hot to trot” defense is especially troubling because its
      underlying premise is that it is possible for a 14-year-old child to seduce a 36-
      year-old man, absolving the man of criminal liability for engaging in, or
      attempting to talk the minor into engaging in, illicit sexual activity. [The
      defendant] cites no case law, however, to support the notion that minors⎯who
      are, by law, unable to even consent to sexual activity, United States v. Remoi,
      404 F.3d 789, 795 (3d Cir. 2005)⎯can “ask for it” in such a way that it becomes
      legally permissible for adults to entice minors into sexual escapades.

Id. at *3 n.3 (emphasis in original).

      In this case, consent is not a defense to the charges in Counts One through

Four and Nine through Thirteen of the superseding indictment. Whether any of the

minor victims allegedly agreed to engage in sexual conduct with or at the direction of

Kelly is irrelevant to whether Kelly is guilty of violating §§ 2251(a) or 2422(b).

Therefore, evidence and argument related to the victims’ consent is irrelevant and

should be excluded at trial. This includes questions during cross examination of the

victims about whether they “consented” to having sex with Kelly or others while they

were minors. Such questions would call for witnesses to make legal conclusions and

should be barred.

      For all of these reasons, the Court should grant the government’s motion to bar

evidence and argument related to the minor victims’ consent. The government will

offer instructions on this issue in its proposed jury instructions to be submitted at a

later date.




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4.       MOTION TO PREVENT THE PUBLIC DISPLAY OF CHILD PORNOGRAPHY VIDEOS
         DURING TRIAL

         The Court should prevent the publication of child pornography video clips5 to

the gallery during trial.6 “There is no doubt that criminal trials are public events and

that weighty concerns about the fairness and integrity of the proceedings require that

criminal trials be open to the public.” United States v. Kerley, 753 F.2d 617, 620 (7th

Cir. 1985). The presumption of openness in criminal trials “is not absolute, however.”

United States v. Gupta, 699 F.3d 682, 687 (2d Cir. 2012). “The presumption of

openness may be overcome only by an overriding interest based on findings that

closure is essential to preserve higher values and is narrowly tailored to serve that

interest.” Press-Enterprise Co. v. Sup. Ct., 464 U.S. 501, 510 (1984) (quotation

omitted).

         Here, the overriding interest is the protection of Minor 1, who is depicted in

the child pornography videos that the government intends to introduce at trial. The

Supreme Court has found that child pornography creates a permanent record of a

victim’s abuse, and the very existence of that child pornography “causes the child

victims continuing harm by haunting the children in years to come.” Osborne v. Ohio,




5Prior to trial, the government will submit the clipped portions and any screenshots of the
videos that it seeks to use for review by the Court and defense counsel.

6 At this time, it is unknown whether there will be sufficient room for spectators to be seated
in the courtroom gallery. If there are spectators in the gallery, the government requests that
all monitors facing the gallery be turned around or otherwise turned off so that spectators
cannot see the child pornography being displayed on the screens. In addition, if there is to be
an overflow courtroom where spectators can view this trial, the government requests that the
monitors in any overflow room be similarly turned around or turned off while child
pornography videos and images are displayed during the trial.

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495 U.S. 103, 111 (1990). Victims of child pornography often write about their ongoing

anxiety and fear that people who see them in public places will recognize them from

the photographs that were taken of them as they were exploited. See Improving the

Response to Victims of Child Pornography, Executive Summary, The National Center

for       Victims         of      Crime         at       7,        available       at

https://victimsofcrime.org/doc/Policy/improving-response-to-vcp_executive-

summary.pdf?sfvrsn=2 (last visited on June 13, 2021). Although the children cannot

control that these images exist, this Court can prevent the images from being publicly

displayed during trial.

      The government has narrowly tailored its request to serve the victims’

interests. The only accommodation that the government seeks is for the Court to limit

publication of the sexually explicit videos to the jury and trial participants while

avoiding publication to the gallery. The government is not asking for any limitation

on testimony describing such images. Requests to limit publication of child

pornography are commonly granted. See United States v. Troup, No. 12-36, 2012 WL

3818242, at *6 (N.D. Ind. Aug. 31, 2012) (limiting display of child pornography images

to the jury and trial participants and finding that “[t]here is no particularly

compelling reason why the public would need to see child pornography in the gallery

during trial, and it would be detrimental to the minors depicted therein to put their

victimization on display”). In United States v. Siepman, this Court granted the

government’s motion to prevent the public display of child pornography images and




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clips during the trial in that matter. Case No. 18 CR 130, Dkt. 95 (N.D. Ill.

Lenienweber, J.).7

         Further, preventing the display of child pornography images to the public does

not constitute plain error. United States v. Killingbeck, 616 F. App’x 14, 16 (2d Cir.

2015) (finding no plain error where “[e]ven assuming that restricting the display of

trial exhibits to the courtroom audience constitutes a partial ‘closure’ for Sixth

Amendment purposes, the government presents substantial reasons for doing so-

limiting the continuing harm to victims of child pornography”); United States v. Boyle,

700 F.3d 1138, 1144 (8th Cir. 2012) (finding no plain error where district court

permitted the government to turn off a monitor facing the gallery during the display

of allegedly sexually explicit images).

5.       GOVERNMENT’S INTENDED EVIDENCE OF POLYGRAPH EXAMINATIONS

         At trial, the government will present evidence about polygraph examinations

that were administered for multiple witnesses who were involved in the recovery of

videotapes produced by Kelly containing child pornography.

         A.    Factual Background

         In summary, Count Five of the superseding indictment alleges that between

2000 and 2019, Kelly and McDavid conspired with each other, Individual A, and

others to conceal and cover up the existence of multiple videos depicting Kelly



7 The government is also aware of an oral motion of the government being granted in the
following cases: United States v. Gabriel, 13 CR 718 (Judge Tharp); United States v.
Norweathers, 09 CR 1047 (Judge Lefkow); United States v. Berg, 07 CR 856 (Judge Bucklo);
United States v. Burns, 07 CR 556 (Judge Gottschall); and United States v. Conrad, 05 CR
931 (Judge St. Eve).

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engaged in sexual contact and sexual acts with minors. R. 93 (Superseding

Indictment), Count 5 ¶¶ 2-5. In approximately 2001, Kelly and McDavid learned that

at least four of these videos—Video 1, Video 2, Video 3, and Video 4—were missing

from Kelly’s collection of child pornography. Id. ¶ 4. In order to conceal and cover up

the existence of videos from investigators, Kelly, McDavid, and others agreed to

collect the missing videos that depicted Kelly engaged in sexual contact with minors.

Id. ¶ 5. It is alleged that Kelly and McDavid paid hundreds of thousands of dollars to

Individual A, Individual B, Individual C, and Individual D in exchange for obtaining

and returning multiple videos that they knew depicted Kelly engaged in sexual

contact and sexual acts with minors. Id. ¶ 6. As a condition of being paid money for

returning the videotapes, the superseding indictment alleges that Kelly and McDavid

directed Individual B, Individual C, and Individual D to take polygraph examinations

regarding whether they had returned all copies of such videotapes. Id. ¶ 6(e). The

indictment further alleges that “at the direction of McDavid, on Kelly’s behalf,

Individual C and Individual D took polygraph examinations regarding the videotapes

that Individual C and Individual D had returned depicting Kelly engaged in sexual

contact and sexual acts with Minor 1 and Individual D, including whether there were

additional copies of the videotapes.” Id. ¶ 11(c).

      At trial, the government will call Individual B, Individual C, and Individual D

to testify about their involvement in the conspiracy to recover and return videotapes

to Kelly and McDavid depicting Kelly’s sexual abuse of Minor 1. Individual B,

Individual C, and Individual D will testify about the communications that they had



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with the defendants about returning the tapes in exchange for financial

compensation. They will testify about how, as a condition to receiving the promised

payment, they were required to first take polygraph examinations about whether all

such videotapes had been returned to Kelly and McDavid.

      The government also plans to call on or more of the polygraph examiners to

testify about their involvement in administering the polygraph examinations of

Individual B, Individual C, and Individual D. Through these witnesses, the

government will introduce testimony and documents related to the polygraph

examinations that were administered on behalf of Kelly and McDavid. The

documentary evidence, which is described further below, is relevant to the charged

conspiracy in that it demonstrates that the witnesses were subject to such

examinations about the videotapes as a condition to their promised payments from

Kelly and McDavid.

      For example, the government anticipates that Individual D will testify that in

2007 she was required to take three polygraph examinations geared at determining

whether she had returned all copies of a videotape that she took from Kelly that

depicted Individual D having sex with Kelly and Minor 1 (“Video 4”). Individual D

will testify that, after passing the first two polygraphs, she received payments from

McDavid and Kelly. In order to get the remaining money that she was promised by

Kelly and McDavid, Individual D had to take a third polygraph examination. The

government seeks to introduce documents related to Individual D’s polygraphs,

including:



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      •      Dated consent forms signed by Individual D, in which she agreed to take
             the polygraph examinations and release the results to Kelly’s attorney
             at the time.

      •      Pre-examination interview forms completed by the examiner, containing
             some general background information about Individual D.

      •      The examiner’s notes listing the questions that he asked Individual D
             during the polygraph examinations.

      These documents are relevant to show the dates that the polygraphs were

administered; who administered them; and who would receive the results of the

exams. In particular, the questions that were asked during the examinations are

relevant to establish the purpose of the polygraph examinations.

      As another example, the government plans to call Individual C to testify about

how Individual D sent him a copy of the videotape that she took from Kelly containing

the video of Kelly, Individual D, and Minor 1 having sex. After Individual C received

the tape, he was summoned to Chicago to meet with McDavid about returning the

tape. Individual C is expected to testify that, before he left for Chicago, he made a

copy of the full-length tape and only brought a shorter snippet of the tape with him

to Chicago. According to Individual C, once he arrived in Chicago, he provided the

snippet to McDavid who went into another room with Individual D. When McDavid

returned, he told Individual C that he would have to take a polygraph examination.

Individual C will testify that, after he took the polygraph and failed, McDavid

instructed Individual C to go home and get the original tape or else someone would

come “visit” him. Individual C understood McDavid’s statement to be a threat.

Individual C will further testify that, before he left that day, McDavid paid



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Individual C $20,000 in cash as a down payment for going back to get the original

tape for McDavid and Kelly.

      The government anticipates that Individual C will testify about the events that

occurred after he returned to Chicago with the original tape. Specifically,

Individual C is expected to testify that he was required to take another polygraph

examination about whether he had any other copies of the tape. According to

Individual C, he passed the second polygraph and McDavid paid Individual C $80,000

in cash. The documents created as a result of Individual C’s polygraph examinations,

including the consent forms that Individual C signed and the examiner’s notes

regarding his administration of the polygraphs, confirm Individual C’s trips to

Chicago and meetings with McDavid and are direct evidence of the conspiracy to

conceal and cover up Kelly’s sexual abuse of minors.

      B.     Argument

      In this case, defendants used polygraph examinations as a tool to further their

conspiracy to obstruct justice and recover illicit videotapes of Kelly engaged in sexual

contact with Minor 1. During the conspiracy, defendants retained multiple examiners

to administer polygraphs to multiple witnesses in this case⎯many of whom were

subjected to more than one polygraph. This evidence demonstrates how serious

defendants were about recovering the missing child pornography tapes and is

admissible to show consciousness of guilt.

      The government seeks to introduce evidence and testimony about the

polygraph examinations for purposes wholly unrelated to the substantive correctness



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of the results of the polygraph examination. The government will not elicit testimony

from witnesses about whether the results of the tests were scientifically accurate. The

purported results are only relevant insofar as they provide important context as to

(1) why McDavid required individuals to take multiple tests, and (2) why McDavid

paid large sums of cash to individuals after it was reported that they “passed” the

examinations. The government further represents that it will not use the results of

the polygraphs to bolster the credibility of any witness and will not make any

arguments regarding the scientific reliability of polygraph examinations at trial.

      Admission of the polygraph evidence for the limited reasons set forth above is

permitted under Seventh Circuit law. The Seventh Circuit has “given district courts

considerable deference on the issue, indicating that the decision to admit polygraph

evidence will be reversed only when the district court has abused its discretion.”

United States v. Resnick, 823 F.3d 888, 897 (7th Cir. 2016) (internal quotations

omitted). In Resnick, the government presented evidence that, during the execution

of a search warrant on the defendant’s home, law enforcement asked the defendant

to take a polygraph examination, and defendant refused to take one. Id. In affirming

the court’s admission of this evidence at trial, the Seventh Circuit reasoned that “this

case is not in the end about polygraph evidence: it is about evidence of a refusal to

take a polygraph.” Id. (emphasis in original).

      The same principle applies here. The government is not seeking to use the

results of the polygraph examinations for their scientific value or to bolster the

credibility of any witness. Rather, as alleged in the superseding indictment, Kelly and



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McDavid caused examiners to administer polygraph examinations in furtherance of

their conspiracy to obstruct justice. See R. 93, Count 5 ¶¶ 6(e), 11(c).

         It is also important to highlight that the offered polygraph evidence does not

relate to polygraphs of any of the defendants in this case. As a result, there is no risk

that the jury could make adverse inferences about the defendants’ credibility, as the

government is not offering evidence that any of the defendants took polygraphs. Cf.

United States v. Bowen, 857 F.2d 1337, 1341 (9th Cir. 1988) (affirming exclusion of

evidence that defendant took a polygraph under Rule 403 because even if the facts

about an exam were admitted without the results the jury would still be reasonably

likely to infer that defendant failed the polygraph).

         In sum, evidence of where, when, how, and why the polygraphs of Individual B,

Individual C, and Individual D were administered is probative evidence of the

conspiracy charged in the indictment⎯including, for example, one of the alleged overt

acts that McDavid, acting on Kelly’s behalf, directed Individual C and Individual D

to take polygraph examinations⎯and, as such, this evidence should be admitted at

trial.

6.       NOTICE REGARDING INTRODUCTION OF THE FALSE RECORDS ALLEGED IN THE
         SUPERSEDING INDICTMENT

         The government provides notice that it will seek to introduce certain false

records alleged in Count Five of the superseding indictment.

         First, the government provides notice that it will seek to admit a memorandum

summarizing an interview of Individual D that took place on or about July 26, 2007.

This memorandum, which is not hearsay, is relevant to prove that McDavid and Kelly

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conspired to obstruct justice as alleged in Count Five of the superseding indictment.

Particularly relevant to this motion is the allegation in the superseding indictment

that, “[o]n or about July 26, 2007, Kelly and McDavid directed Individual D to falsely

deny that Individual D and Kelly engaged in sexual acts together with Minor 1, when

Kelly and McDavid knew that Kelly had engaged in sexual acts with Minor 1 and

Individual D. As Kelly and McDavid intended, a false record, document and tangible

object was prepared based upon Individual D’s false statements.” R. 93, Count 5

¶ 7(e). The memorandum of Individual D’s interview is the false document referred

to in the superseding indictment.

      As set forth above, Individual D was summoned to Chicago multiple times in

2007 in connection with McDavid and Kelly’s efforts to collect contraband videotapes

and impede the Cook County criminal prosecution in 2008. Individual D was required

to take multiple polygraph examinations to assure Kelly and McDavid that she had

returned the video she took from Kelly that depicted herself, Kelly, and Minor 1

engaging in sex acts while Minor 1 was around 14 years old.

      Individual D is expected to testify at trial in this case that, following her third

polygraph examination on or about July 26, 2017, McDavid told her to meet with

other lawyers and tell them that she never had sex with Minor 1. Individual D is

expected to testify that McDavid waited in the hallway as she went in the room to

meet with the lawyers and provide them with the false statements as instructed by

McDavid. A memorandum of interview dated July 26, 2007 was prepared




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documenting Individual D’s false statements. In summary, the memorandum states

that Individual D provided the following information:

   •   Between 1997 and 2006, Individual D had sex with Kelly and multiple other
       females, all of whom were over the age of 17.

   •   Individual D knew Minor 1 and had spoken to her on numerous occasions.
       Individual D never saw Kelly in a sexual situation with Minor 1. Minor 1 was
       never a participant in any sexual encounter with Individual D and Kelly.

   •   Individual D agreed to be interviewed by attorneys on July 26, 2007.
       Individual D was not forced, threatened, or promised anything to participate
       in this interview.

       At trial, the government will question Individual D about this memorandum

and the lay the foundation for the memorandum’s admission into evidence. The

memorandum should be admitted, as the statements therein are not being offered for

their truth. Quite the opposite, the government seeks to use this document as

evidence that she was coerced by McDavid and Kelly to provide false information

about her knowledge of Minor 1 and Kelly’s abuse of Minor 1. The government’s

evidence will further show that, on or about July 26, 2007, Individual D received a

$30,000 payment from McDavid.

       In addition, the memorandum is not privileged. After the memorandum was

prepared, Kelly’s attorney at the time provided the memo to the Assistant State’s

Attorney assigned to Kelly’s criminal trial in Cook County. The Cook County State’s

Attorney’s Office, in turn, provided a copy of the memo, along with the correspondence

from Kelly’s attorney, to the U.S. Attorney’s Office, and the memo has been produced

to the defendants in this case.




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      Second, the government provides notice that it will seek to admit a police

report containing false information provided by Minor 1 during the Chicago Police

Department’s investigation of Kelly in 2000. As alleged in the superseding

indictment, “[i]n approximately December 2000, pursuant to instructions that

Minor 1 received from Kelly, Minor 1 falsified and caused a false entry to be made in

a police report, when Minor 1 denied to law enforcement officers that Kelly engaged

in a sexual relationship with Minor 1.” R. 93, Count 5 ¶ 7(a). At trial, Minor 1 is

expected to testify that Kelly began having sexual contact with her beginning around

1997 or 1998, when Minor 1 was 13 or 14-years old. When Minor 1 was about 15 or

16 years old, in or about 2000, certain government agencies began investigating

allegations that Kelly was sexually abusing Minor 1. Kelly instructed Minor 1 on how

to act and what to say if she was questioned. In or around December 2000, law

enforcement officers from the Chicago Police Department questioned Minor 1 about

sexual contact with Kelly. During the interview with CPD, Minor 1 falsely denied the

allegations of Kelly’s sexual misconduct and documented that information in a police

report. In summary, the police report states that law enforcement interviewed

Minor 1, who stated that she had never been sexually abused by Kelly and that any

such allegations are untrue.

      At trial, the government will seek to admit the CPD report into evidence.

Admission of this report is permissible as it is not hearsay, and is being offered to

prove allegations in the superseding indictment.




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         For all of these reasons, the above-described records should be admitted into

evidence.

7.       GOVERNMENT’S NOTICE OF INTENT TO ADMIT DIRECT EVIDENCE OF CRIMES
         CHARGED

         As set forth in the superseding indictment, Kelly is charged with multiple

crimes related to his sexual abuse and exploitation of five minors over the course of

several years (Counts 1-4, 6-13). The indictment further alleges that McDavid knew

that Kelly was sexually abusing minors and that Kelly made several videotapes

documenting the abuse (Count 5). Kelly and McDavid went to great lengths to cover

up the abuse, including paying large sums of money to witnesses to ensure that they

would lie to law enforcement about the criminal conduct. In furtherance of Kelly and

McDavid’s conspiracy to obstruct justice, it is alleged in the superseding indictment

that “Kelly used physical abuse, violence, threats of violence, blackmail, and other

controlling behaviors against victims so that Kelly could maintain control over them,

prevent them from providing evidence to law enforcement, and persuade them to

continue to abide by prior false statements relating to Kelly’s sexual contact and

sexual acts with minors and videos of such conduct.” R. 93, Count 5 ¶ 9.

         At trial, the government will introduce testimony and evidence of the physical,

emotional, and sexual abuse that Kelly inflicted on Minors 1, 3, 4, 5, and 6 over the

course of several years. The victims will testify about how Kelly used violence and

threats of violence to control, manipulate, and isolate them, all as a means to coerce

the victims to have sex with Kelly and prevent them from reporting Kelly to the

police. For example, the government expects that Minor 1 will testify that Kelly began


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hitting her when she around 17 or 18-years old. Minor 1 will also testify about how

Kelly isolated her from her family and friends and controlled her every move,

including who Minor 1 was allowed to talk to. As another example, Minor 5 will

describe the strict rules that Kelly had regarding who Minor 5 was allowed to speak

to and that Minor 5 had to seek Kelly’s permission before interacting with other men.

According to Minor 5, there was one instance where Kelly punched a man after he

told Minor 5 that he thought Minor 5 was cute.

      In short, Kelly used physical violence and emotional manipulation to entice

and coerce the victims to have sex with him. Thus, testimony about how Kelly hit or

otherwise inflicted physical violence against the victims is direct evidence of the

§ 2422(b) charges.

      Evidence of Kelly’s physical abuse is also direct evidence of the charged

conspiracy to obstruct justice which alleges that, between approximately 2000 and

2019, Kelly “used physical abuse, violence, threats of violence, blackmail, and other

controlling behaviors against victims so that Kelly could maintain control over them,

prevent them from providing evidence to law enforcement, and persuade them to

continue to abide by prior false statements relating to Kelly’s sexual contact and

sexual acts with minors and videos of such of conduct.” R. 93, Count 5 ¶ 9. As a result,

Minor 1’s testimony about Kelly’s physical and emotional abuse of her while she was

an adult is also direct evidence of the § 371 charge.




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8.       MOTION FOR PRIOR NOTICE CONCERNING RULE 608(B) IMPEACHMENT

         The government moves to bar each party from introducing evidence (including

by asking questions on cross examination) under Rule 608(b) except upon prior notice

to the Court and the opposing party outside the presence of the jury. Rule 608(b)

provides that specific instances of past conduct may be inquired into on cross-

examination if (and only if) they concern the witness’ character for truthfulness. By

its very nature, impeachment based upon a witness’ prior conduct that is not relevant

to the matter at issues creates a risk of causing unfair prejudice to an opposing party.

First, a party attempting to conduct such impeachment may erroneously believe that

such impeachment is appropriate when it is not—the end result being that the

impropriety of the impeachment is only discovered after the disparaging impeaching

conduct is presented to the jury as part of an attorney’s question. Second, even if some

conduct may properly fall within the scope of Rule 608(b), counsel may exceed any

limitations on the scope to which such matters may be addressed on cross-

examination. Third, depending on the nature of the past conduct raised by the

examiner, the jury may not be able to completely obey the Court’s instruction to

disregard the contents of an improper question heard by the jury.

         For these reasons, and to obviate any risk of unfair prejudice, the government

asks that this Court exercise its discretion to preclude the parties from pursuing any

impeachment under Rule 608(b) unless, outside the presence of the jury, the party

has made a prior offer of proof concerning the alleged prior conduct. See Fed. R. Evid.

611 (“The court should exercise reasonable control over the mode and order of



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examining witnesses and presenting evidence so as to: (1) make those procedures

effective for determining the truth; (2) avoid wasting time; and (3) protect witnesses

from harassment or undue embarrassment.”). Procedurally, the government proposes

that, prior to cross-examination, the Court should require each party to first notify

the Court and other parties at sidebar of its intent to impeach under Rule 608(b).

This procedure would ensure that any alleged prior bad acts are not improperly

communicated to the jury before the Court has the opportunity to determine whether

such alleged prior bad acts are the subject of proper impeachment under Rule 608(b).

9.       MOTION TO PRECLUDE ARGUMENT OR EVIDENCE DESIGNED TO ELICIT JURY
         NULLIFICATION

         The government moves this Court to preclude the defendant from arguing, or

otherwise presenting evidence or pursuing lines of inquiry designed to elicit jury

nullification. It is well settled that it is improper for a defendant to suggest in any

way that the jury should acquit defendant even if it finds that the government has

met its burden of proof. See United States v. Laguna, 693 F.3d 727, 730 (7th Cir.

2012) (court held that district court properly found that evidence offered by the

defendant was irrelevant and served to only confuse the jury or invite the jury to

acquit even if the government satisfied each element of the offense); United States v.

Perez, 86 F.3d 735, 736 (7th Cir. 1996) (“An unreasonable jury verdict, although

unreviewable if it is an acquittal, is lawless, and the defendant has no right to invite

the jury to act lawlessly. Jury nullification is a fact, because the government cannot

appeal an acquittal; it is not a right, either of the jury or of the defendant.”); United

States v. Sepulveda, 15 F.3d 1161, 1190 (1st Cir. 1993) (holding that the court “may


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block defense attorneys’ attempts to serenade the jury with the siren of nullification”).

Therefore, the defendant should be precluded from presenting argument or evidence

designed to elicit jury nullification.

       The government cannot anticipate each form of potential jury nullification

argument or evidence. The government moves to exclude the potential areas noted

below, all of which are irrelevant to the elements of the crimes charged, as well as

any argument or questioning, no matter what its form, that, in effect, would

“encourage a jury to acquit ‘under any circumstances’ regardless of the applicable law

or proven facts.” United States v. Anderson, 716 F.2d 446, 450 (7th Cir. 1983) (quoting

United States v. Dougherty, 473 F.2d 1113, 1137 (D.C. Cir. 1972)).

       A.     Motion to Preclude Argument or Evidence Concerning Potential
              Penalties Faced by Defendants if They are Convicted

       The government moves the Court to preclude defendants from introducing

evidence, making argument, or otherwise mentioning the potential penalties faced if

convicted. For one, the Seventh Circuit’s Pattern Criminal Jury Instructions include

an instruction specifying, “In deciding your verdict, you should not consider the

possible punishment for the defendant. If you decide that the government has proved

the defendant guilty beyond a reasonable doubt, then it will be my job to decide on

the appropriate punishment.” Pattern Crim. Jury Instructions 4.08 (2020 ed.).

       Additionally, the Seventh Circuit has stated that “arguing punishment to a

jury is taboo.” United States v. Richardson, 130 F.3d 765, 778 (7th Cir. 1997), vacated

on other grounds, 526 U.S. 813 (1999); see also United States v. Lewis, 110 F.3d 417,

422 (7th Cir. 1997) (“[T]he practice of informing juries about the sentencing


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consequences of their verdicts is strongly disfavored.”); United States v. McKenzie,

922 F.2d 1323, 1327 (7th Cir. 1991) (holding that while “the sixth amendment

requires that a jury determine questions of guilt or innocence . . . punishment is the

province of the Court”).

      Argument and evidence concerning punishment are improper because the law

is well-settled that the potential penalty faced by a defendant is irrelevant to the

jury’s determination of guilt or innocence. See, e.g., Shannon v. United States, 512

U.S. 573, 579 (1994) (“It is well established that when a jury has no sentencing

function, it should be admonished to reach its verdict without regard to what sentence

might be imposed.”) (quotation omitted); Aliwoli v. Carter, 225 F.3d 826, 830 (7th Cir.

2000) (same); United States v. Frank, 956 F.2d 872, 879 (9th Cir. 1991) (“It has long

been the law that it is inappropriate for a jury to consider or be informed of the

consequences of their verdict.”). Mention of the potential penalties faced by

defendants only would serve the improper purpose of jury nullification. See, e.g.,

United States v. Reagan, 694 F.2d 1075, 1080 (7th Cir. 1982) (“The authorities are

unequivocal in holding that presenting information to the jury about possible

sentencing is prejudicial.”) (quotation omitted).

      Accordingly, the defense should be precluded from mentioning or introducing

evidence about any of the range of penalties faced if convicted.

      B.     Motion to Preclude Allegations of Outrageous Government
             Conduct

      The government moves to exclude evidence or argument by counsel of

“outrageous government conduct.” The Seventh Circuit repeatedly has held that the


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“[o]utrageous government conduct is not a defense in this circuit.” United States v.

Stallworth, 656 F.3d 721, 730 (7th Cir. 2011) (citation omitted); see also United States

v. Sherman, 268 F.3d 539, 549-550 (7th Cir. 2001); United States v. Boyd, 55 F. 3d

239, 241-42 (7th Cir. 1995) (“[O]utrageous governmental misconduct” is no defense to

a criminal charge, and the jury thus should not be exposed to irrelevant allegations

of this sort.). Furthermore, this Circuit held that the issue of government misconduct

was a matter of law for determination by the court: “the issue of government

misconduct is not an issue for the jury.” United States v. Swiatek, 819 F.2d 721, 726

(7th Cir. 1987) (noting that every circuit which has considered the issue has held that

the issue is not a jury question) (citations omitted).

      Yet, there is a “tendency in criminal cases to try some person other than the

defendant and some issue other than his guilt.” United States v. Griffin, 867 F. Supp.

1347, 1347 (N.D. Ill. 1994) (citation omitted). The “thrust of the defense” in these

types of cases “is this: the prosecution was not nice or could have done it better and

so the jury ought to acquit, whether or not guilt has been proved beyond a reasonable

doubt.” Id. In the face of this tendency to interject themes of “government misconduct”

into a defense strategy, courts routinely have granted motions in limine “to bar

defendants from presenting evidence or making arguments to the jury suggesting

that they should be acquitted because the government engaged in misconduct in the

course of its investigation.” United States v. Shields, 1991 WL 236492, at *3 (N.D. Ill.

Aug. 13, 1991). See also United States v. Finley, 708 F. Supp. 906, 913 (N.D. Ill. 1989)

(granting motion in limine to preclude evidence “which is not relevant to defendants’



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guilt but is designed only to persuade the jury that defendants should be acquitted

because the government engaged in misconduct during its investigation”).

       Accordingly, the government moves to bar the defense from introducing

evidence or argument of outrageous government conduct.

       C.    Motion to Preclude Argument and Evidence Regarding the
             Government’s Motivation in Investigating & Prosecuting the
             Case

       The government moves to preclude evidence or argument by defense counsel

regarding the government’s and the officers’ and agents’ motivations for investigating

or prosecuting this case. This includes, but is not limited to, arguments that the

federal prosecution of defendants for child pornography offenses after Kelly’s

acquittal in Cook County Circuit Court is vindictive or otherwise improper. Evidence

bearing on the government’s decision to prosecute is “extraneous and collateral” and

thus, excluded from trial. See United States v. Johnson, 605 F.2d 1025, 1030 (7th Cir.

1979) (affirming the exclusion of evidence offered to show that the “indictment was a

political instrument”); United States v. Clay, 618 F.3d 946, 956 (8th Cir. 2010)

(“[S]elective prosecution of a criminal defendant is not an issue for the jury to

decide.”).

       Further, the government moves to preclude the defense from arguing or

eliciting evidence regarding the mental states, subjective intentions, or motivations,

of the investigating officers and agents. It is well settled law that inquiries regarding

the subjective intentions or motivations of a government agent are irrelevant to

determining the factual guilt or innocence of a defendant. See United States v.



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Goulding, 26 F.3d 656, 667 (7th Cir. 1994) (even in the context of an entrapment

defense, it was proper for the trial court not to “allow the defense to mount an inquiry

into the mental states of the investigating officers since such evidence was

irrelevant”).

      Accordingly, the government moves to preclude evidence or argument by the

defense regarding the government’s and the officers’ and agents’ motivations for

investigating or prosecuting the case.

      D.        Motion to Preclude Argument and Evidence of Selective
                Prosecution Theory

      Similarly, defendant should be precluded from introducing evidence or

argument seeking to present a theory of selective prosecution before the jury. During

the trial, the government intends to call witnesses who, for example, participated in

the conspiracy to receive child pornography. The government anticipates that

defendant may argue that some of these witnesses may have been engaged in

unlawful receipt of child pornography and have not been charged with any criminal

offenses. Pursuant to Federal Rules of Evidence 401 and 403, such information is

irrelevant and unfairly prejudicial.

      Indeed, in United States v. Young, 20 F.3d 758, 765 (7th Cir. 1994), the court

granted, on relevancy grounds, the government’s motion to preclude the defendant

from introducing evidence that another individual who had been arrested with him

was not charged. In so ruling, the Young court noted that “the primary issue for the

jury was whether the government met its burden of proof as to [the defendant]’s

knowledge,” and “[w]hether or not [another individual] was criminally charged [did]


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not make the facts related to [the defendant’s] knowledge and participation in [the

alleged crime] more or less probable.” Id. at 765; see also United States v. Abboud,

438 F.3d 554, 579 (6th Cir. 2006) (observing that “the defense of selective prosecution

is a matter that is independent of a defendant’s guilt or innocence, so it is not a matter

for the jury”).

        In the same vein, defendants should be precluded from making legally

irrelevant and prejudicial arguments regarding the parents of Minors 1, 3, 4, 5, and

6. To prove the offenses alleged in the superseding indictment, the government

expects to present evidence that some of the minor victims spent a substantial

amount of time with defendants and that defendants may try to deflect the blame for

their criminal conduct by offering evidence that the parents of the minor victims knew

or should have known about their daughters’ sexual relationships with Kelly.

Defendants may further assert that to the extent the parents knew or should have

known about the sexual relationships with Kelly, the parents thereby consented to

such relationships. Such evidence has no legal bearing as to the offenses with which

defendants are charged. Indeed, consent by either the parents or the minor victims is

not a defense to such charges. Defendants may go so far as to argue that the parents

of the minor victims were responsible for or aided and abetted defendants’ crimes.

Such arguments are legally irrelevant and would only serve as a distraction to the

jury.

        For all of these reasons, the government moves to preclude evidence or

argument by the defense regarding any theory of selective prosecution.



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10.    MOTION TO PRECLUDE DISCOVERY REQUESTS OR COMMENTARY REGARDING
       DISCOVERY IN THE PRESENCE OF THE JURY

       The government moves this Court to preclude the parties from requesting

discovery from witnesses or opposing counsel, moving the Court for such discovery,

or otherwise commenting on discovery matters, in the presence of the jury. Such

requests in front of the jury may distract the jury or create the impression that one

side has suppressed information as a means of seeking an unfair advantage. See, e.g.,

United States v. Gray, 2010 WL 1258169, *3 (N.D. Ind. Mar. 26, 2010) (granting

government’s motion to preclude the defense from requesting or commenting on

discovery in the presence of the jury); see also Thompson v. Glenmede Trust Co., 1996

WL 529693, at *2 (E.D. Pa. Sept. 17, 1996) (“Rather than focus on the issues in the

case, the jury may instead be misled by the irrelevant side issues of the discovery

process. Therefore, the Court will not permit either party to refer to the discovery

process in the presence of the jury at trial.”).

       As such, the government asks this Court to prohibit either party from raising

discovery issues in the presence of the jury. The appropriate time to raise such issues

would be at a sidebar or while the jury is not in the courtroom.

11.    MOTION TO EXCLUDE EVIDENCE OR ARGUMENTS REGARDING THE
       CONSTITUTIONALITY OF THE STATUTES CRIMINALIZING THE PRODUCTION
       AND RECEIPT OF CHILD PORNOGRAPHY


       Arguments pertaining to the constitutionality of the statutes criminalizing

child pornography offenses are wholly irrelevant to the indictment in this case and

do not affect the Supreme Court’s and Seventh Circuit’s unequivocal rulings that the

First Amendment and the Commerce Clause do not protect child pornography. See,


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e.g., Osborne v. Ohio, 495 U.S. 103, 111 (1990) (rejecting a First Amendment

challenge and upholding the constitutionality of laws prohibiting the possession and

viewing of child pornography); United States v. Angle, 234 F.3d 326, 335-38 (7th Cir.

2000) (rejecting a commerce clause challenge to a conviction for possessing child

pornography). For these reasons, the government moves to preclude defendants from

introducing any evidence or argument regarding the constitutionality of the statutes

criminalizing the production and receipt of child pornography.

12.     MOTION TO PRECLUDE ARGUMENT OR EVIDENCE OF NON-PERTINENT TRAITS
        OF DEFENDANTS’ CHARACTERS


        The government moves the Court to exclude all evidence offered by defendants

of their lawfulness and/or non-corrupt conduct, except reputation or opinion evidence

offered by character witnesses strictly in accord with the limitations of Federal Rules

of Evidence 405(a).8 Other than testimony from character witnesses fitting within the

narrow confines of Rule 405(a), no such evidence is admissible.

        Rule 404(a)(1) precludes the admissibility of evidence of a person’s character

or character trait “to prove that on a particular occasion the person acted in

accordance with the character or trait.” Fed. R. Evid. 404(a)(1). Rule 404(a)(2) directs,

in relevant part, that “[d]efendant may offer evidence of the defendant’s pertinent




8 Even evidence offered under Rule 405(a) cannot include specific instances of good conduct:
it is limited to a description of the subject’s reputation or to a brief statement of opinion,
without support from specific instances of conduct. See Advisory Committee Notes to Rule
405 (The rule “contemplates that testimony of specific instances is not generally permissible
on direct examination of an ordinary opinion witness to character . . . [O]pinion testimony on
direct in these situations ought in general to correspond to reputation testimony as now
given, i.e. be confined to the nature and extent of observation and acquaintance upon which
the opinion is based.”).

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trait.” Fed. R. Evid. 404(a)(2)(A). Pursuant to this rule, only pertinent character traits

of defendants are admissible, and all non-pertinent traits are inadmissible. For

example, in an effort to distract the jury from the charges at issue, defendants may

seek to call witnesses to testify that on particular prior occasions defendants followed

the law or otherwise behaved as lawful members of the community. Any evidence or

argument of this sort is inadmissible, and the Court should exclude it. The law is

clear: “Evidence that a defendant acted lawfully on other occasions is generally

inadmissible to prove he acted lawfully on the occasion alleged in the indictment.”

United States v. Reese, 666 F.3d 1007, 1020 (7th Cir. 2012); see also United States v.

Heidecke, 900 F.2d 1155, 1162 (7th Cir. 1990) (“Proof that a defendant acted lawfully

on other occasions is not necessarily proof that he acted lawfully on the occasion

alleged in the indictment.”). To hold otherwise would be to eviscerate the carefully

drafted limitations of Rule 405, which forbid proof of good character through evidence

of specific acts where character is not an element of the charge or defense. Like Rule

403, Rule 405 is intended to prevent the series of wasteful “mini-trials’ which would

inevitably ensue if defendants were allowed to introduce irrelevant testimony of non-

pertinent traits of character.

      Accordingly, the government moves to bar defendants from presenting

argument or introducing evidence of character traits of defendants that are non-

pertinent to refuting the elements of the offenses for which they are charged.




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13.   MOTION TO PRECLUDE DEFENSES OF ALIBI OR UNAVAILABILITY AND MENTAL
      DEFECT

      Rules 12.1 and 12.2 of the Federal Rules of Criminal Procedure require that a

defendant provide the government with notice of the following defenses: (1) any alibi

or similar defense that the defendant intends to raise, including any defense

asserting the defendant’s unavailability on or near the dates named in the indictment

(Rule 12.1); and (2) notice of any defense to be raised of a mental defect inconsistent

with the state of mind required for the offense charged (Rule 12.2).

      On or about August 2, 2019, the government sent letters to defense counsel

requesting notice pursuant to Rules 12.1, 12.2, and 12.3 of each of these defenses. The

defendants have not notified the government of their intent to raise any such

defenses. The government thus requests that the defendants be prohibited from

introducing evidence or argument relating to such defenses at trial.

14.   MOTION TO PRECLUDE DEFENSE COUNSEL FROM DEFINING                     THE   TERM
      “REASONABLE DOUBT”

      The government moves the Court to order the defense not to attempt to define

the term “reasonable doubt” during opening statement or closing argument. The term

“reasonable doubt” should not be defined by the trial court or counsel. E.g., United

States v. Anderson, 303 F.3d 847, 857 (7th Cir. 2002); United States v. Reynolds, 64

F.3d 292, 298 (7th Cir. 1995). That is because any attempt to define the term

“presents a risk without any real benefit”—that is, any definition of the term often

leans toward “misleading refinements” that “weaken and make imprecise the existing

phrase.” Reynolds, 64 F.3d at 298 (internal quotations omitted); see also Anderson,



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303 F.3d at 857 (government argument was proper because “it was invited by defense

counsel’s own improper attempt to define the reasonable doubt standard”); United

States v. Blackburn, 992 F.2d 666, 668 (7th Cir. 1993) (noting that definitions of

reasonable doubt have a likelihood of “confus[ing] juries more than the simple words

themselves”). For these reasons, the Seventh Circuit has held that “it is improper for

attorneys to attempt to define the term [reasonable doubt].” United States v.

Thompson, 117 F.3d 1033, 1035 (7th Cir. 1999); see also United States v. Clancy, 1999

WL 265164, at *8 (7th Cir. 1999); United States v. Bruce, 109 F.3d 323, 329 (7th

Cir.1997); United States v. Alex Janows & Co., 2 F.3d 716, 722–23 (7th Cir. 1993) (“It

seems simple enough; we admonish counsel, do not define ‘reasonable doubt’ to a

jury.”); Committee Comment to Seventh Circuit Pattern Criminal Jury Instruction

1.04 (2020 ed.).

15.   MOTION TO ALLOW GOVERNMENT TO RECALL THE CASE AGENT DURING ITS
      CASE-IN-CHIEF

      The government respectfully requests permission from the Court to recall the

case agent, a special agent from Homeland Security Investigations, during the course

of trial so that testimony can be presented to the jury in an orderly and

understandable manner, and in a manner most effective for ascertaining the truth.

      This Court has substantial discretion to determine the mode and order of

interrogation. See United States v. Vasquez, 635 F.3d 889, 897 (7th Cir. 2011); United

States v. Puckett, 147 F.3d 765, 770 (8th Cir. 1997) (upholding district court’s decision

to allow government to recall law enforcement witnesses so the evidence could be

presented in chronological order). Federal Rule of Evidence 611(a) provides in part:


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      The court should exercise reasonable control over the mode and order of
      examining witnesses and presenting evidence so as to make those procedures
      effective for determining the truth; [and] avoid wasting time[.]

Fed. R. Evid. 611(a). The procedure of permitting witnesses to testify in episodic or

chronological order has been approved in complex conspiracy cases. See, e.g., United

States v. Jackson, 549 F.2d 517, 528 (7th Cir. 1977); see also United States v. Butera,

677 F.2d 1376, 1381 (11th Cir. 1982).

      Because the government intends to introduce, to the extent possible, evidence

related to the conspiracy—which spans almost 20 years—and the substantive child

exploitation charges chronologically, the government anticipates it will need to recall

the case agent to testify about, among other things, voluminous bank and financial

records, other business records from dozens of sources, and multiple videos containing

child pornography. While the government will attempt to limit the number of times

it recalls the case agent as best it can, requiring her to testify only once would

necessarily require the government to cover a broad number of topics out of

chronological order in a fashion that would likely confuse the jury.

      Accordingly, the government respectfully requests that the Court permit it to

recall the case agent to testify to the relevant episodes of the government’s

investigation. The government further proposes that after each instance of direct

examination, the defendants be permitted to cross-examine the witness fully about

any and all matters the witness testified about during that particular direct

examination so as to ensure a full and fair cross-examination.




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16.     MOTION TO ADMIT BUSINESS RECORDS PURSUANT                TO   FEDERAL RULES      OF
        EVIDENCE 803(6) AND 902(11)

        Under Federal Rule of Evidence 902(11), certified copies of domestic business

records are self-authenticating if the party offering the records provides the adverse

party written notice and allows the adverse party to inspect the exhibit and

certification, allowing the party to challenge the authenticity of the records.9 Under

Federal Rule of Evidence 803(6), the records are an exception to the hearsay rule if

following conditions exist:


        (A) the records was made at or near the time by—or from information
        transmitted by—someone with knowledge;
        (B) the record was kept in the course of a regularly conducted activity of a
        business, organization, occupation, or calling, whether or not for profit;
        (C) making the record was a regular practice of that activity;
        (D) all these conditions are shown by the testimony of the custodian or another
        qualified witness, or by a certification that complies with Rule 902(11) or (12)
        or with a statute permitting certification; and
        (E) the opponent does not show that the source of the information nor the
        method or circumstances of preparation indicate a lack of trustworthiness.
        The Seventh Circuit has consistently upheld the admission of business records

through business records certifications, pursuant to Rules 803(6) and 902(11). See,

e.g., United States v. Green, 648 F.3d 569, 580-81 (7th Cir. 2011); United States v.

Klinzing, 315 F.3d 803, 809-10 (7thCir. 2003) (holding that admission of pre-certified

business records under Rules 803(6) and 901(11) does not violate the Confrontation

Clause because the records have “sufficient guarantees of reliability”); (United States



9This motion constitutes written notice to defendants that the government intends to rely on
business records certifications for the identified records.

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v. Ellis, 460 F.3d 920, 927 (7th Cir. 2006) (Seventh Circuit upheld the admissibility

records through the use of Rule 902(11) certifications in light of Crawford).

      The government moves the Court to find, pursuant to Federal Rule of Evidence

104, that the records at issue are authentic business records within the meaning of

Federal Rule of Evidence 803(6). Rule 104 authorizes the Court to determine in

advance of trial “[p]reliminary questions concerning the qualification of a person to

be a witness, the existence of a privilege, or the admissibility of evidence.” This rule

applies to all preliminary determinations, including the question of whether

documents fall within the “business records exception” to the hearsay rule. See United

States v. Kasvin, 757 F.2d 887, 893 (7th Cir. 1985) (affirming trial court’s preliminary

determination pursuant to Rule 104 that business records were admissible pursuant

to Rule 803(6)).

      The government intends to introduce a variety of business records through

certifications, including the records of state agencies, financial institutions and

companies, and hotel and other travel records. Government Exhibit 1 is a chart of

businesses records for which the government intends to rely on business records

certifications under Rules 803(6) and 902(11). The business records certifications for

records identified in the chart have been previously produced to defendant in

discovery. The government will send them to defense counsel again under separate

cover. The chart in Government Exhibit 1 also identifies the business records that

are associated with each certification. The underlying business records have all

previously been produced to defendants in discovery.



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         The government intends to introduce selected portions of the business records

identified in the chart at trial. Additionally, the government may supplement this

notice as additional business records certifications are received from business

custodians of record.10 Admission of these documents through 902(11) certification

will save the parties, the Court, and the jury members significant time and resources,

as the certifications will obviate the need for live witness testimony from several

witnesses.11

         Because the business records from the entities listed in Government Exhibit 1,

and their accompanying certifications, fall under Federal Rules of Evidence 902(11)

and 803(6), the government respectfully requests that this Court find, under Rule

104, that the identified business records fall within the “business records exception”

to the hearsay rule.




10 The government will provide defendants with any additional certifications as they are
received, and the Seventh Circuit has allowed notice to be provided only days before trial.
See United States v. Bledsoe, 70 Fed. Appx. 370, 373 (7th Cir. 2003) (Seventh Circuit upheld
the admission of business records pursuant to 902(11) certifications even though the
government gave defendant notice of its intent to use the certification only four days prior to
trial).

11 The government may decide to call witnesses from one or more of the identified businesses
if the witness has additional information, beyond certification of the business records, that
would be helpful to the jury’s understanding of the records.

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                                 CONCLUSION

      For the foregoing reasons, the United States respectfully requests that the

Court grant the government’s motions in limine.



                                     Respectfully submitted,

                                     JOHN R. LAUSCH, JR.
                                     United States Attorney

                               By:   /s/ Elizabeth R. Pozolo
                                     JEANNICE APPENTENG
                                     ELIZABETH R. POZOLO
                                     Assistant U.S. Attorneys
                                     219 South Dearborn St., Rm. 500
                                     Chicago, Illinois 60604
                                     (312) 353-5300
Dated: June 13, 2022




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